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 6
 7                               UNITED STATES DISTRICT COURT

 8                              EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                            Case No.: 1:13 CR00362 AWI-BAM
                                                          (007)
11                    Plaintiff(s),
                                                          WAIVER OF DEFENDANT’S
12           v.                                           PERSONAL PRESENCE AT
     LOUIE CALLES,                                        PRETRIAL PROCEEDINGS;
13
                                                          ORDER THEREON
14                    Defendant(s).

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                       Pursuant to F.R. Crim. P. 43(b)(3), Defendant, LOUIE CALLES, having been
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     advised of his right to be present at all stages of the proceedings, hereby requests that this
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     Court proceed in his absence on every occasion that the Court may permit, pursuant to this
22
     waiver. Defendant agrees that his interests shall be represented at all times by the presence of
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     his attorney, PETER M. JONES, the same as if Defendant were personally present, and
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     requests that this court allow his attorney-in-fact to represent his interests at all times.
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     Defendant further agrees that notice to Defendant’s attorney that Defendant’s presence is
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     required will be deemed notice to the Defendant of the requirement of his appearance at said
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     time and place.
28
     {7414/002/00433649.DOC}                         1
      ____________________________________________________________________________________________________
          WAIVER OF DEFENDANT’S PERSONAL PRESENCE AT PRETRIAL PROCEEDINGS; [PROPOSED] ORDER THEREON
     Case 1:13-cr-00362-AWI-BAM Document 75 Filed 11/01/13 Page 2 of 2



 1                     Mr. CALLES is currently in compliance with all his conditions under Pretrial

 2   Services.

 3   Dated: November 1, 2013                     /s/LOUIE CALLES                              _
                                                     LOUIE CALLES
 4
 5
     Dated: November 1, 2013
 6
 7                                               /s/ PETER M. JONES_________________
                                                     PETER M. JONES, Attorney for
 8                                                   Defendant, LOUIE CALLES
 9
10
11                                                 ORDER
12
                       GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
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     appearance may be waived at any and all non-substantive pretrial proceedings until further
14
     order.
15
16   IT IS SO ORDERED.

17       Dated:       November 1, 2013                           /s/ Barbara A. McAuliffe                _
18                                                        UNITED STATES MAGISTRATE JUDGE

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     {7414/002/00433649.DOC}                         2
      ____________________________________________________________________________________________________
          WAIVER OF DEFENDANT’S PERSONAL PRESENCE AT PRETRIAL PROCEEDINGS; [PROPOSED] ORDER THEREON
